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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DOVAL JORDAN and                                        )
BRITTANY WILKINS,                                       )
                                                        )
                        Plaintiffs,                     )        Case No. 07 C 6195
                                                        )
        v.                                              )
                                                        )
LARRY RATTLER, DAVID BIRD,                              )        Judge Joan H. Lefkow
MICHAEL E. LIPSEY, JEROME DOMICO,                       )
JR., RICHARD SANCHEZ, JR., UNKNOWN                      )        Magistrate Judge Valdez
NUMBER OF UNNAMED OFFICERS OF                           )
THE CHICAGO POLICE DEPARTMENT,                          )
and CITY OF CHICAGO,                                    )        JURY TRIAL DEMANDED
                                                        )
                        Defendants.                     )


               DEFENDANTS’ JOINT MOTION TO WITHDRAW THEIR
             MOTION TO DISMISS COUNT VI OF PLAINTIFFS’ COMPLAINT

        Defendant City of Chicago, by its attorney Rita C. Moran, Assistant Corporation Counsel

for the City of Chicago, and Defendant Officers Larry Rattler, David Bird, Michael E. Lipsey,

Jerome Domico Jr., and Richard Sanchez Jr., by Marc J. Boxerman, one of their attorneys,

respectfully move this Court for leave to withdraw their Motion to Dismiss Count VI of

Plaintiffs’ Complaint. In support of this motion, Defendants state as follows:

        1.      On April 30, 2008, Defendants filed a Joint Motion to Dismiss Count VI of

Plaintiffs’ Complaint With Prejudice. Count VI pleads an Illinois state law claim of conversion

based on a sum of money taken from Doval Jordan pursuant to a search incident to Mr. Jordan’s

arrest. Defendants filed their motion under the theory that this claim was time-barred because

Plaintiffs filed this claim after the expiration of the one-year statute of limitations. Plaintiffs filed


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their complaint on November 2, 2007, over one year after the search and confiscation of money

upon which Count VI is predicated.

       2.      Research conducted by the Defendants for a reply brief in support of their motion

to dismiss indicates that the cause of action for conversion did not arise at the time this money

was taken from Mr. Jordan, but on November 2, 2006, the day criminal proceedings against Mr.

Jordan terminated. See Gates v. Towery, 435 F.Supp.2d 794, 800-01 (N.D. Ill. 2006). Plaintiffs

filed their complaint on November 2, 2007. While Plaintiffs waited until the very last day before

expiration of the statute of limitations for this state law claim, Gates suggests the claim is timely.

       3.      In the interest of judicial economy and in light of Gates, Defendants respectfully

seek leave to withdraw their motion to dismiss.

       WHEREFORE, Defendants respectfully request that this Court grant Defendants leave

to withdraw their motion to dismiss Count VI of Plaintiffs’ Complaint.

                                                       Respectfully submitted,

                                               By:     /s/ Marc J. Boxerman
                                                       Senior Counsel

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                                               By:     /s/ Rita C. Moran
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                                CERTIFICATE OF SERVICE

        I certify that I have caused true and correct copies of the above and foregoing Motion and
Notice of Motion to be served upon the person(s) named in the Notice of Motion, who is a
“Filing User” pursuant to ECF, in accordance with the rules of electronic filing of documents, on
June 26, 2008.


                                                     /s/ Marc J. Boxerman
                                                     MARC J. BOXERMAN
